Case 2:10-cv-02671-JGB-MRW Document 83 Filed 12/17/12 Page 1 of 2 Page ID #:657




 1   STEPTOE & JOHNSON LLP
     DYLAN RUGA (SBN 235969)
 2   NOELLE L. CHUNG (SBN 272244)
 3   MICHAEL C. MARTINEZ (SBN 275581)
     2121 Avenue of the Stars, Suite 2800
 4   Los Angeles, California 90067-5052
     Telephone: (310) 734-3200
 5   Facsimile:    (310) 734-3300
     Email:     druga@steptoe.com
 6   Email:     nchung@steptoe.com
 7   Email:     mmartinez@steptoe.com
 8   Attorneys for Plaintiff
     LEON THOMAS
 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
     LEON THOMAS,                       Case No.: 10-cv-02671 DDP (FMOx)
13
                  Plaintiff,            ORDER RE FILING OF
14                                      PLAINTIFF’S SECOND AMENDED
           vs.                          COMPLAINT AND DEFENDANTS’
15                                      ANSWER THERETO
     FRANCISCO QUINTANA, et al.,
16
                  Defendants.
17
18
19
20
21
22
23
24
25
26
27
28




                                 [PROPOSED] ORDER
                                                                 DOC. # DC-8111414 V.3
Case 2:10-cv-02671-JGB-MRW Document 83 Filed 12/17/12 Page 2 of 2 Page ID #:658




 1                                          ORDER
 2         Having considered the Joint Stipulation re Filing of Plaintiff’s Second
 3   Amended Complaint and Defendants’ Answer Thereto, and finding good cause
 4   therefore, the Court Orders:
 5         Plaintiff Leon K. Thomas may file a Second Amended Complaint and
 6   Demand for Jury Trial.
 7         The parties will consider the Second Amended Complaint to be filed and
 8   served as of the date of this Order.
 9         Defendants Francisco J. Quintana, Bradley Jurgensen, and Jeffrey Allen
10   have fourteen (14) days from the filing of the Second Amended Complaint to file
11   an Answer thereto.
12
13   DATED:       12/17/12                               /s/
14                                          Honorable Fernando M. Olguin
                                            Magistrate Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                              1
                                      [PROPOSED] ORDER
                                                                         DOC. # DC-8111414 V.3
